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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       VICTORIA DIVISION


 STATE OF TEXAS, et al.,

             Plaintiffs,

      v.                                                   Civil Action No. 6:23-cv-00013

 BUREAU OF ALCOHOL, TOBACCO,
 FIREARMS AND EXPLOSIVES, et al.,

             Defendants.



                  DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

           Defendants respectfully notify this Court of an opinion that the United States District Court

for the Northern District of Texas issued today in Mock v. Garland, No. 4:23-cv-95 (N.D. Tex.),

attached hereto as Exhibit A. In that opinion, the court denied the plaintiffs’ motion (i) to preliminarily

enjoin the Bureau of Alcohol, Tobacco, Firearms, and Explosives’ (“ATF”) enforcement of the same

rule challenged in this litigation, Factoring Criteria for Firearms With Attached “Stabilizing Braces,” 88 Fed.

Reg. 6,478 (Jan. 31, 2023) (“Rule”), and (ii) to postpone the Rule’s effective date. The court held that

the plaintiffs had not demonstrated a “substantial likelihood of success on the merits of any of their

claims.” See Slip Op. at 1.



Dated: March 30, 2023                              Respectfully submitted,


                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   ALAMDAR S. HAMDANI
                                                   United States Attorney

                                                   BRIGHAM J. BOWEN
                                                   Assistant Branch Director
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                                                /s/ Faith E. Lowry
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                                                Attorneys for Defendants


                                   CERTIFICATE OF SERVICE

        On March 30, 2023, I electronically submitted the foregoing document with the Clerk of Court

for the U.S. District Court, Southern District of Texas, using the Court’s electronic case filing system.

I hereby certify that I have served all parties electronically or by another manner authorized by Federal

Rule of Civil Procedure 5(b)(2).


                                                        /s/Faith Lowry
                                                        Trial Attorney
                                                        U.S. Department of Justice
